United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

MOONBUG ENTERTAINMENT Case No. 21-cv-06536-EMC

LIMITED, et al.,

Plaintiffs, VERDICT FORM

Vi

BABYBUS (FUJIAN) NETWORK
TECHNOLOGY CO.,LTD, et al.,

Defendants.

VERDICT FORM

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The Court submits this case to you on special issues in the form of questions you will
answer as you find the facts to be, from the evidence admitted before you on this trial, under the
rulings of the court in conformity with these instructions.

On retiring to the jury room, you will select one of your number to act as foreperson. The
foreperson will preside over your deliberations and will be your spokesperson in court. A form of
special verdict has been prepared for your convenience.

You will note that each question calls for a “yes" or “no” answer. The answer to each
question must be the unanimous answer of the jury. Your foreperson will write the unanimous
answer of the jury in the space provided below the question.

Your answers to these special questions will constitute your verdict and your answers must
be made without regard to their legal effect or the judgment that may be based on them by the
court.

You are the exclusive judges of the facts proved, of the credibility of the witnesses, and of
the weight to be given the testimony; but as to the law, you must be governed by the instructions,
definitions, and explanations given you in this charge.

When you have completed the answers to all questions, and the foreperson has dated and

signed the special verdict, you will return with it to the courtroom.

1. Considering the protectability of the works, evidence of actual copying, evidence of
unlawful appropriation (extrinsic test and intrinsic test for substantial similarity between the
works), as well as whether any defenses apply, did Babybus infringe the registered

copyrights to the following CoComelon works? If yes, was the infringement willful?

Yes No If yes,

willful?
1 | The JJ Character (U.S. Copyright No. VAu001379978 (JJ)) x xX
2 | JJ’s Family Characters (Copyright No. VAu001322038 * x

(Unpublished Family Characters 2017))

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Yes

No

If yes,

willful?

CoComelon Animal’s Characters (U.S. Copyright No.
VAu001319613 (Animal Characters 2017))

X

The Boo Boo Song (U.S. Copyright No. PA0002181622
(The Boo Boo Song))

Yes Yes Vegetables Song (U.S. Copyright No.
PA0002149483 (Yes Yes Vegetables Song))

Yes Yes Vegetables Song (U.S. Copyright No.
PA0002159137 (Yes Yes Vegetables Song))

Car Wash Song (U.S. Copyright No. PA0002191424 (Car
Wash Song))

Bath Song (U.S. Copyright No. PA0002146326 (Bath

Song))

Yes Yes Playground Song (U.S. Copyright No.
PA0002145951 Yes Yes Playground Song))

10

Yes Yes Bedtime Song (U.S. Copyright No. PA0002177791

(Yes Yes Bedtime Song))

11

No No Play Safe Song (U.S. Copyrights No. PA0002177782

(“No No” Play Safe Song))

12

No No Bedtime Song (U.S. Copyright No. PA0002149484

(“No No” Bedtime Song))

13

No No Playground Song (U.S. Copyright No.
PA0002177781 (“No No” Playground Song))

14

No No Table Manners Song (U.S. Copyright No.
PA0002177787 (“No No” Table Manners Song))

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Yes No If yes,

willful?

15 | Doctor Checkup Song (U.S. Copyright No. PA0002181041

x

(Doctor Checkup Song))

16 | Animal Dance Song (U.S. Copyright No. PA0002168575

(Animal Dance Song))

17 | First Day of School Song (U.S. Copyright No.
PA0002184736 (First Day of School))

18 | Five Little Monkeys (U.S. Copyright No. PA0002192144

(Five Little Monkeys))

19 | Getting Ready for School Song (U.S. Copyright No.
PA0002169923 (Getting Ready for School Song))

20 | Hello Song (U.S. Copyright No. PA0002183993 (Hello
Song))

21 | Jobs and Career Song (U.S. Copyright No. PA0002191932

(Jobs and Career Song))

22 | Laughing Baby with Family (U.S. Copyright No.
PA0002209528 (Laughing Baby with Family))

23 | Laughing Baby with Family (U.S. Copyright No.
PA0002156496 (Laughing Baby with Family))

24 | Looby Loo (U.S. Copyright No. PA0002190861 (Looby
Loo))

25 | One Potato, Two Potato (U.S. Copyright No.
PA0002159136 (One Potato, Two Potatoes))

26 | Opposites Song (U.S. Copyright No. PA0002146866

Xx
X
X
x
X
X
x
x
xX
x
x

x «KT | KL we LK LK | KL me] Ow LOK I

(Opposites Song))

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Yes

No

ZF

Peek a Boo Song (U.S. Copyrights No. PA0002209504
(Peek A Boo Song))

28

Peek a Boo Song (U.S. Copyright No. PA0002156528 (Peek
A Boo Song))

29

Rock-A-Bye Baby (U.S. Copyright No. PA0002190862
(Rock-a-bye Baby))

30

Shape Song (U.S. Copyright No. PA0002190382 (Shape

Song))

Sick Song (U.S. Copyright No. PA0002161511 (Sick Song))

x|x |x [>< | ><

32

Soccer Song (U.S. Copyright No. PA0002184313 (Soccer
Song (Football Song)))

a3

Swimming Song (U.S. Copyright No. PA0002161510

(Swimming Song))

34

Teacher Song (U.S. Copyright No. PA0002184737 (Teacher

Song))

3

Thank You Song (U.S. Copyright No. PA0002190864
(Thank You Song))

36

This is the Way (U.S. Copyright No. PA0002169623 (This
Is the Way))

37

Traffic Safety Song (U.S. Copyright No. PA0002190384
(Traffic Safety Song))

38

Wheels on the Bus (U.S. Copyright No. PA0002181071
(Wheels on the Bus))

39

Winter Song (Fun in the Snow) (U.S. Copyright No.
PA0002181080 (Winter Song (Fun in the Snow)))

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Yes No If yes,

willful?

40 | Colors Song — Learn Colors (PA0002146325 (Colors Song — | X X
Learn Colors, displayed on YouTube as “Colors Song (with

Popsicles)”))

41 | The Happy Shapes Song, et al. (U.S. Copyright No.
SRu001310748 (The Happy Shapes Song, et al., Best Xx

Original Songs))

42 | No No Play Safe Song, et al. (U.S. Copyright No.
SRu001317776 (No No Play Safe Song, et al., Original

Songs for Children 1))

2. In the March 20, 2023 Counternotification regarding the Yes Yes Playground video on
Super JoJo’s Portuguese language channel, did Babybus knowingly and materially
misrepresent that material was removed or disabled from YouTube by mistake or

misidentification?

Yes K No

3. What amount of damages do you find for:

Copyright Infringement:

Plaintiffs’ Damages $ H | lp 5 E D4 lor oO

Defendants’ Profits (excluding amount awarded for Plaintiffs’ Damages) $}\ DH3A% HI rt

Statutory Damages $ 5 £50, OOO » OO

Misrepresentation (answer only if you answered “YES” to Question 2):

Plaintiffs’ Damages $_\O.OCI®. OD

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4, If above in Question 1, you find the JJ character was infringed, do you also find that the
JoJo character was not only substantially similarly but also virtually identical to the JJ

character?

Yes x No

Please have the foreperson date and sign this verdict.

Dat Forepers6n of the Jury

